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4816   3:19‐cv‐02617‐K   House v. DePuy Orthopaedics Inc et al                                            11/4/2019
4817   3:19‐cv‐02776‐K   Geren et al v. DePuy Orthopaedics Inc et al    Arkansas         4:19‐cv‐00771   11/20/2019
4818   3:19‐cv‐02777‐K   Wynn v. DePuy Orthopaedics Inc et al                                            11/20/2019
4819   3:19‐cv‐02834‐K   Kaplan et al v. DePuy Orthopaedics Inc et al                                    11/26/2019
4820   3:19‐cv‐02888‐K   Stull v. Medical Device Business Services                                        12/6/2019
4821   3:19‐cv‐02939‐K   Whatley v. DePuy Orthopaedics Inc et al                                         12/13/2019
4822   3:19‐cv‐02942‐K   Ferreira et al v. DePuy Orthopaedics Inc et                                     12/13/2019
4823   3:19‐cv‐03004‐K   Lyon v. DePuy Orthopaedics, Inc. et al         California       4:19‐cv‐05270   12/19/2019
4824   3:20‐cv‐00092‐K   West v. Depuy Orthopaedics Inc et al           Alabama          5:19‐cv‐01751    1/14/2020
4825   3:20‐cv‐00287‐K   Jennings‐Moline v. DePuy Orthopaedics,         Idaho            2:19‐cv‐00235     2/5/2020
4826   3:20‐cv‐00349‐K   Laird v. DePuy Orthopaedics Inc et al          Virginia         4:20‐cv‐00006    2/13/2020
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4828   3:20‐cv‐00450‐K   Smink et al v. DePuy Orthopaedics Inc                                            2/22/2020
4829   3:20‐cv‐00498‐K   Sperry v. DePuy Orthopaedics Inc et al         Missouri         4:19‐cv‐03164    2/27/2020
4830   3:20‐cv‐00539‐K   Petock v. DePuy Orthopaedics Inc et al                                            3/2/2020
4831   3:20‐cv‐00746‐K   Vroman v. DJD Medical Inc et al                Massachusetts    1:19‐cv‐12314    3/30/2020
4832   3:20‐cv‐00762‐K   Petersen et al v. DePuy Orthopaedics Inc et    Nebraska         8:20‐cv‐00102     4/1/2020
4833   3:20‐cv‐00767‐K   Nolan v. DePuy Orthopaedics Inc et al          California       2:20‐cv‐02406     4/1/2020
4834   3:20‐cv‐00892‐K   Malcomb v. Johnson & Johnson Services          California       4:18‐cv‐05864    4/14/2020
4835   3:20‐cv‐00894‐K   Phares v. Johnson & Johnson Services Inc et    California       4:18‐cv‐05864    4/14/2020
4836   3:20‐cv‐00895‐K   Hill v. Johnson & Johnson Services Inc et al   California       4:18‐cv‐05864    4/14/2020
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4838   3:20‐cv‐00899‐K   Druzynski v. Johnson & Johnson Services        California       4:18‐cv‐05866    4/15/2020
4839   3:20‐cv‐00900‐K   Iles v. Johnson & Johnson Services Inc et al   California       4:18‐cv‐05866    4/15/2020
4840   3:20‐cv‐00904‐K   Smith v. Johnson & Johnson Services Inc et     California       4:18‐cv‐05868    4/14/2020
4841   3:20‐cv‐00906‐K   Cole v. Johnson & Johnson Services Inc et al   California       4:18‐cv‐05870    4/15/2020
4842   3:20‐cv‐00907‐K   Dick v. Johnson & Johnson Services Inc et al   California       4:18‐cv‐05870    4/15/2020
4843   3:20‐cv‐00908‐K   Guay v. Johnson & Johnson Services Inc et      California       4:18‐cv‐05870    4/15/2020
4844   3:20‐cv‐00909‐K   Holliday v. Johnson & Johnson Services Inc     California       4:18‐cv‐05870    4/15/2020
4845   3:20‐cv‐00910‐K   McNeil v. Johnson & Johnson Services Inc       California       4:18‐cv‐05870    4/15/2020
4846   3:20‐cv‐00911‐K   Quan v. Johnson & Johnson Services Inc et      California       4:18‐cv‐05870    4/15/2020
4847   3:20‐cv‐00912‐K   Rehfield v. Johnson & Johnson Services Inc     California       4:18‐cv‐05870    4/15/2020
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4854   3:20‐cv‐01650‐K   Konopko v. DePuy Orthopaedics Inc et al        Florida Middle   8:20‐cv‐00982    6/22/2020
4855   3:20‐cv‐01662‐K   Gilbertson v. DePuy Orthopaedics Inc et al     Louisiana        2:20‐cv‐01648    6/23/2020
4856   3:20‐cv‐01672‐K   Lawrence v. DePuy Orthopaedics Inc et al                                         6/23/2020
4857   3:20‐cv‐01717‐K   Summerville v. DePuy Orthopaedics Inc et                                         6/29/2020
4858   3:20‐cv‐01946‐K   Burley et al v. Depuy Inc et al                Florida          9:20‐cv‐80990    7/23/2020
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4861   3:20‐cv‐02022‐K   Sheikh v. DePuy Orthopaedics Inc et al         California       2:20‐cv‐05750    7/30/2020
4862   3:20‐cv‐02110‐K   Hinojosa v. DePuy Orthopaedics, Inc. et al     Texas Eastern    6:20‐cv‐00247    8/10/2020
4863   3:20‐cv‐02364‐K   Dunlap v. DePuy Orthopaedics Inc et al         Alaska           3:20‐cv‐00162    8/20/2020
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4873   3:20‐cv‐03035‐K   Scott v. DePuy Orthopaedics Inc et al          New Jersey       3:20‐cv‐12610    10/2/2020
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4875   3:20‐cv‐03655‐K   Byrd et al v. DePuy Orthopaedics Inc et al     Louisiana        2:20‐cv‐02278   12/16/2020
4876   3:20‐cv‐03749‐K   Gordon et al v. Johnson & Johnson Services     Alabama          1:20‐cv‐00492   12/30/2020
4877   3:21‐cv‐00162‐K   Kaplin et al v. DePuy Orthopaedics Inc et al                                     1/25/2021
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4889   3:21‐cv‐01177‐K   Silva v. DePuy Orthopaedics Inc et al                                            5/23/2021
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4897   3:21‐cv‐01205‐K   Austin v. DePuy Orthopaedics Inc et al         California       2:21‐cv‐03602    5/26/2021
4898   3:21‐cv‐01206‐K   Brody v. DePuy Orthopaedics Inc et al          California       2:21‐cv‐03683    5/26/2021
4899   3:21‐cv‐01308‐K   Nellenback v. DePuy Inc et al                  South Carolina   2:21‐cv‐00533     6/8/2021
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4913   3:21‐cv‐02686‐K   Kastanis v. DePuy Orthopaedics Inc et al       Kentucky         3:21‐cv‐00625   10/29/2021
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